This is an action asking for a declaratory judgment, an accounting, possession of premises, an injunction, other equitable relief, and damages. This is a motion to dismiss the complaint *Page 402 
because it has not satisfied the conditions set forth in § 277 of the Practice Book. It is principally directed at paragraph (c), which provides that this court will not render a declaratory judgment where it "shall be of the opinion that the parties should be left to seek redress by some other form of procedure." The court, on the trial of this action, might conclude that the plaintiff should be accorded the relief it seeks or, on the other hand, that it should be left to raise the questions at issue in some other form of procedure; but the way in which it should exercise its discretion in the matter must be decided at that time and not on a motion to dismiss. Connecticut Savings Bank v. FirstNational Bank, 133 Conn. 403, 414.
   The motion to dismiss is denied.